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                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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11    FRANCISCO SANVOVAL, an individual,    )          No. 2:15cv04880-RGK-RAO
      HEIDI ARELLANO, an individual, C.S.A.,)
12    a minor by and through his guardian ad)          ORDER GRANTING PETITION OF
      litem, REYNA VENCES,                  )          REYNA VENCES FOR
13                                          )          APPOINTMENT OF GUARDIAN
            Plaintiffs,                     )          AD LITEM FOR MINOR CHILD,
14                                          )          C.S.A.
         v.                                 )          ___________________________
15                                          )
      LAGOON ASSOCIATES, LLC, a             )
16    California Limited Liability Company; )
      COASTLINE REAL ESTATE ADVISORS, )
17    LLC., a California Limited Liability  )
      Company, and DOES 1 through 10,       )
18    Inclusive,                            )
                                            )
19          Defendants                      )
                                            )
20    ______________________________        )
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23
            After considering the petition of Reyna Vences (“Petitioner”) for appointment as
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      guardian ad litem for minor child C.S.A., IT IS HEREBY ORDERED THAT:
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            The petition is granted and Reyna Vences is appointed as the guardian ad litem for
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                                               ORDER                                           1
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 1    minor child C.S.A., for the entirety of this lawsuit.
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 4    Dated:
                                                              Judge
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